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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )             CRIM. NO. 17-00101 LEK
                               )
                Plaintiff,     )              ORDER DENYING
                               )              DEFENDANT’S MOTION FOR
      vs.                      )              THE GOVERNMENT TO STOP
                               )              WITHHOLDING DISCOVERY
 ANTHONY WILLIAMS (1),         )              MATERIAL AND PROVIDE TO
                               )              PRIVATE ATTORNEY GENERAL
                Defendant.     )              ANTHONY WILLIAMS ALL
                               )              DISCOVERY DUE TO HIM
                               )
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       ORDER DENYING DEFENDANT’S MOTION FOR THE
      GOVERNMENT TO STOP WITHHOLDING DISCOVERY
       MATERIAL AND PROVIDE TO PRIVATE ATTORNEY
   GENERAL ANTHONY WILLIAMS ALL DISCOVERY DUE TO HIM

      Defendant Anthony Williams (“Defendant”) filed a Motion for the

Government to Stop Withholding Discovery Material and Provide to Private

Attorney General Anthony Williams All Discovery Due to Him (“Motion”). ECF

No. 644. The Motion seeks discovery of “all of the communication between all the

FBI offices, U.S. Attorney[s’] Offices, and other Federal and State agencies.”

Motion at PageID#5513-5514.

      The Motion seeks documents and communications that are either not

discoverable, or are not discoverable at this time. Fed. R. Crim. Proc. 16, as well
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as United States v. Brady, 397 U.S. 742 (1970), United States v. Giglio, 405 U.S.

150 (1972), and the Jencks Act, 18 U.S.C. § 3500 (“Jencks Act”), govern the

government’s discovery obligations, and the record before the Court indicates that

the government is in compliance with its discovery obligations.

         By rule, communications “made by an attorney for the government or other

government agent in connection with investigating or prosecuting the case,” are

not subject to disclosure prior to trial. Fed. R. Crim. Proc. 16(a)(2). If the

government designates any government agents to testify at trial, the government

will by required to supplement its production consistent with the Jencks Act, Fed.

R. Crim. Proc. 26.2, CrimLR16.1(f), and any pretrial scheduling order from the

Court.

         For these reasons, the Court DENIES the Motion.

         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, December 2, 2019.




                                      Kenneth J. Mansfield
                                      United States Magistrate Judge




United States v. Williams, Crim. No. 17-00101 LEK; Order Denying Defendant’s
Motion for the Government to Stop Withholding Discovery Material and Provide
to Private Attorney General Anthony Williams All Discovery Due to Him


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